                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION


    JAMES R. PUTMAN,                                 )
                                                     )
              Plaintiff,                             )   Civil Action No.: 7:17-cv-168
                                                     )
    v.                                               )
                                                     )
    SAVAGE ARMS, INC.,                               )   By: Hon. Michael F. Urbanski
                                                     )   Chief United States District Judge
              Defendant.                             )
                                                     )


                                 MEMORANDUM OPINION

          This products liability action arises out of a hunting accident on November 11, 2016

   in George Washington National Forest in or near Alleghany County, Virginia. Plaintiff James

   R. Putman ("Putman") was hunting with a Savage 10ML-II stainless steel muzzleloader

   designed, marketed, and advertised by defendant gun manufacturer Savage Arms, Inc.

   ("Savage"), when the firearm's barrel exploded, severing Putman's right thumb. Putman's

   Second Amended Complaint, ECF No. 34, alleges negligent design (Count I), negligent

   manufacture (Count II), willful and wanton failure to warn (Count III), and breach of

   implied warranty of merchantability (Count IV). Putman voluntarily dismissed Count II. On

   January 8, 2019, Savage moved for summary judgment as to the remaining counts pursuant

   to Rule 56(a) of the Federal Rules of Civil Procedure. ECF No. 61.

          Additionally, Putman moved for partial summary judgment in his favor as to a

   number of affirmative defenses raised by Savage in its Answer, all of which relate to



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   purported misuse of the 1OML- II muzzleloader and/ or issues of proximate cause. ECF No.

   59. Specifically, Putman urges the court to rule as a matter of law that his use of the

   PowerBelt bullet was not an unforeseeable misuse. Id. On February 1, 2019, the court held a

   hearing to address these and other outstanding motions. For the following reasons, both

   motions for summary judgment are DENIED.

                                        I. Summary Judgment

          Pursuant to Federal Rule of Civil Procedure 56(a), the court must "grant summary

   judgment if the movant shows that there is no genuine dispute as to any material fact and

   the movant is entided to judgment as a matter of law." Fed. R. Civ. P. 56(a); see Celotex

   Corp. v. Catrett, 477 U.S. 31 7, 322 (1986); Glynn v. EDO Corp., 710 F.3d 209, 213 (4th Cir.

   2013). When making this determination, the court should consider "the pleadings,

   depositions, answers to interrogatories, and admissions on file, together with ... [any]

   affidavits" flied by the parties. Celotex, 477 U.S. at 322. Whether a fact is material depends

   on the relevant substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

   "Only disputes over facts that might affect the outcome of the suit under the governing law

   will properly preclude the entry of summary judgment. Factual disputes that are irrelevant or

   unnecessary will not be counted." Id. (citation omitted). The moving party bears the initial

   burden of demonstrating the absence of a genuine issue of material fact. See Celotex, 477

   U.S. at 323. If that burden has been met, the non-moving party must then come forward and

   establish the specific material facts in dispute to survive summary judgment. Matsushita Elec.

   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).




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          In determining whether a genuine issue of material fact exists, the court views the

   facts and draws all reasonable inferences in the light most favorable to the non-moving

   party. Glynn, 710 F.3d at 213 (citing Bonds v. Leavitt, 629 F.3d 369, 380 (4th Cir. 2011)).

   Indeed, "[i]t is an 'axiom that in ruling on a motion for summary judgment, the evidence of

   the nonmovant is to be believed, and all justifiable inferences are to be drawn in his favor."'

   McAirlaids, Inc. v. Kimberly-Clark Corp., No. 13-2044, 2014 WL 2871492, at *1 (4th Cir.

   June 25, 2014) (internal alteration omitted) (citing Tolan v. Cotton, 134 S. Ct. 1861, 1863

   (2014) (per curiam)). Moreover, "[c]redibility determinations, the weighing of the evidence,

   and the drawing of legitimate inferences from the facts are jury functions, not those of a

   judge .... " Anderson, 477 U.S. at 255. However, the non-moving party "must set forth

   specific facts that go beyond the 'mere existence of a scintilla of evidence."' Glynn, 710 F.3d

   at 213 (quoting Anderson, 477 U.S. at 252). Instead, the non-moving party must show that

   "there is sufficient evidence favoring the nonmoving party for a jury to return a verdict for

   that party." Res. Bankshares Corp. v. St. Paul Mercury Ins. Co., 407 F.3d 631, 635 (4th Cir.

   2005) (quoting Anderson, 477 U.S. at 249). "In other words, to grant summary judgment the

   [c]ourt must determine that no reasonable jury could find for the nonmoving party on the

   evidence before it." Moss v. Parks Corp., 985 F.2d 736, 738 (4th Cir. 1993) (citing Perini

   Corp. v. Perini Const., Inc., 915 F.2d 121, 124 (4th Cir. 1990)).

                                           II. Negligent Design

          The parties agree that Virginia law controls the resolution of this diversity action.

   With respect to Count I alleging negligent design, the court finds that there are genuine

   issues of material fact precluding it from granting summary judgment. To prevail in a


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   products liability case alleging negligent design under Virginia law, "the plaintiff must prove

   that the product (1) contained a defect (2) which rendered it unreasonably dangerous for

   ordinary or foreseeable use. In addition, the plaintiff must establish that (3) the defect existed

   when it left the defendant's hands and that (4) the defect actually caused the plaintiffs

   injury." Alevromagiros v. Hechinger Co., 993 F.2d 417, 420 (4th Cir. 1993) (applying

   Virginia law) (numerals added); Redman v. John P. Brush and Co., 111 F.3d 1174 (4th Cir.

   1997) (applying Virginia law) . Virginia law does not require manufacturers to adopt the safest

   conceivable design. Redman, 111 F.3d at 1177-78. Instead, manufacturers are required to

   design products that meet prevailing safety standards at the time the product is made. Sexton

   v. Bell Helmets, Inc., 926 F.2d 331 , 336-37 (4th Cir. 1991). In determining whether a

   product's design meets those standards, a court should consider whether the product fails to

   satisfy (1) applicable industry standards, (2) applicable government standards, or (3)

   reasonable consumer expectations. Id. The issue whether a product is unreasonably

   dangerous is a question of fact. See Singleton v. International Harvester Co., 685 F.2d 112,

   115 (4th Cir. 1981).

          In Virginia, consumer expectations, which may differ from government or industry

   standards, "may be proved from evidence of actual industry practices, knowledge at the time

   of other injuries, knowledge of dangers, the existence of published literature, and from direct

   evidence of what reasonable purchasers considered defective at the time." Sexton, 926 F.2d

   at 337. That said, an individual's subjective expectations are insufficient to establish what

   degree of protection society expects from a product. See Redman, 111 F.3d at 1181

   (distributor's testimony that based upon a safe's advertisement, warranty, and appearance, he


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   expected it would protect valuables better was insufficient by itself to establish reasonable

   consumer expectations); see also Evans v. Nacco Materials Handling Grp., Inc., 295 Va. 235,

   247, 810 S.E .2d 462, 470 (2018) (holding that "[p]ublished literature may include, among

   other sources, marketing, advertising, presentation, promotional materials, product manuals,

   and instruction booklets). These types of evidence are probative when they establish what

   society demands or expects from a product. Sexton, 926 F.2d at 33 7 (holding that "an

   examination of societal standards at any given point in time usually reveals an expectation

   that balances known risks and dangers against the feasibility and practicability of applying

   any given technology"). The Fourth Circuit has recognized that the reasonable expectations

   of consumers may provide the sole criteria for unreasonable danger. See Hambrick ex rel.

   Hambrick v. Ken-Bar Mfg. Co., 422 F. Supp. 2d 627, 634 (W.D. Va. 2002).

          Even where a plaintiff can prove that reasonable consumers expected a safer design,

   Virginia law holds that a design is not objectively unreasonable unless the plaintiff can show

   that an alternative design is safer overall than the design used by the manufacturer. Evans,

   295 Va. at 249, 810 S.E.2d at 471 (''With respect to the modification of a design with safety

   implications .. . the plaintiff must establish that the proposed design modification is safer

   than the design used by the manufacturer."). Important in this regard is that an alternative

   design must not be an altogether essentially different product. Indeed, as has been often

   stated, "[a] motorcycle could be made safer by adding two additional wheels and a cab, but

   then it is no longer a motorcycle." Caterpillar, Inc. v. Shears, 911 S.W.2d 379, 385 (Tex.

   1995); see also Kimball v. RJ Reynolds Tobacco Co., 2006 WL 1148506, 2006 U.S. Dist.

   LEXIS 27138 (W.D. Wash. Apr. 26, 2006) (noting that "'[t]wo-wheeledness' is an essential


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   characteristic of a motorcycle"). In other words, "an alternative design is not reasonable if it

   alters a fundamental and necessary characteristic of the product." Torkie-Tork v. Wyeth, 739

   F. Supp. 2d 895, 900 (E.D. Va. 2010). This is, of course, typically a question of fact, not law.

   Kimball, 2006 WL 1148506, at *3, 2006 U.S. Dist. LEXIS 27138, at *8.

          Finally, under any theory of tortious injury, one requisite element of a claim is a

   "causal connection between defendant's conduct and plaintiffs injury." Owens v. Bourns,

   Inc. , 766 F.2d 145, 151 (1985). "The law of products liability in Virginia does not permit

   recovery where responsibility is conjectural." Boyle v. United Technologies Corp., 792 F.2d

   413, 415 (4th Cir. 1986). While it is not necessary to establish causation with such certainty

   as to exclude every other possible cause, White Consol. Indus., Inc. v. Swiney, 237 Va. 23,

   28, 376 S.E.2d 283, 285-86 (1989), "expert testimony is often utilized to establish

   causation." Wright v. Lilly, 66 Va. Cir. 195 (2004) (citing Charles E. Friend, Personal Injury

   Law in Virginia, § 19.1 (3rd ed. 2003) . Indeed, such "[e]xpert testimony is usually necessary

   in products liability cases to establish defectiveness or dangerousness of the product,

   causation, etc. [Very] rarely is lay testimony alone sufficient." Id. Issues of negligence and

   proximate causation ordinarily are questions of fact for the jury's determination; courts

   decide these issues only when reasonable persons could not differ." Atkinson v. Scheer, 256

   Va. 448, 453-54, 508 S.E.2d 68, 71 (1998) (quoting Brown v. Koulizakis, 229 Va. 524, 531,

   331 S.E.2d 440, 445 (1985)).

          With respect to the negligent design claim alleged in Count I, Savage makes three

   principal arguments on summary judgment: (1) neither Putman nor his expert considered or

   presented evidence related to any industry standards or consumer expectations when


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   analyzing the 416R steel alloy or 10ML-II muzzleloader, ECF No. 82, at 7; (2) Putman has

   failed to (a) produce evidence of a suitable alternative design, (b) demonstrate that a different

   steel "would have actually prevented the accident in question," or (c) conduct a risk-utility

   analysis of the subject barrel or an alternative, ECF No. 62, at 17; and (3) Putman's expert

   witness, Dr. Alan Druschitz, has (a) failed to offer proof of causation, (b) account for

   Putman's alleged misuse of the 10ML-II, or (c) "rule out [other] potential causes." Id. at 16-

   19. With regards to causation, Savage further alleges that Putman's use of a "non-

   recommended," purportedly "improper" load (bore-sized .SO (or .499)) caliber PowerBelt

   bullet) at the time of his accident, in contravention of "instructions and warnings" issued by

   Savage and PowerBelt, constitutes an intervening and superseding cause of the accident. Id.

   at 20. The court rejects each of these arguments.

                                                       A.

          With respect to industry standards, Savage is correct that Putman, at best, equivocates

   on this issue. On the one hand, Putman claims that "no industry standards specific to

   smokeless muzzleloaders exist" as Savage is the only manufacturer of such muzzleloaders.

   ECF No. 13, at 21. To explain the absence of an industry standard, Putman cites a letter

   from former Savage CEO Ronald Coburn in which Coburn states, "[t]he firestorm over the

   introduction of a smokeless rifle has hardly just begun, evidenced by recent articles and

   letters directed to myself about how Savage is about to commit industry suicide with this

   product." ECF No. 78-5 (Ex. 17). In short, while it is admitted that there is no applicable

   industry standard, Putman explains that this is so because smokeless muzzleloaders were

   considered dangerous, and their production ill-advised. On other hand, Putman claims his


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   expert, Dr. Druschitz, is prepared to testify that Savage violated an industry standard by

   misspecifying the "minimum yield strength," a metric indicating how much metal can stretch

   before it breaks, of 416R steel by a factor of ten. Id.; ECF No. 78-1, at 41 (Ex. 7). In his

   report, titled "Failure Analysis of a Savage Arms 10ML-II Muzzleloader Serial Number

   M008570," Dr. Druschitz, in relevant part, states the following vis-a-vis the yield strength:

   "The Savage Arms Material Specifications Report dated 09-Sep-02 incorrectly specifies the

   minimum yield strength to be taken at 2% offset; the industry standard takes the yield

   strength at 0.2% offset." ECF No. 71-1, at 41 (Ex. 7). Yet, immediately beneath this claim,

   Dr. Druschitz states, "[t]here is no industry accepted standard for 416R stainless steel; 416R

   is not a UNS (Unified Numbering System) specification number." Id. In short, Putman has

   not identified a specific industry (or government) standard, nor clearly or consistently

   articulated a violation thereof.

          Where, as here, no defect can be established on the basis of industry (or government)

   standards, the final step is to examine whether the product failed to satisfy consumers'

   reasonable expectations. See, e.g., Norris v. Excel Indus., Inc., 139 F. Supp. 3d 742, 751

   (W.D. Va. 2015), affd, 654 F. App'x 588 (4th Cir. 2016). This element, as previously

   discussed, can be met through evidence of "actual industry practices, knowledge at the time

   of other injuries, knowledge of dangers, the existence of published literature, and from direct

   evidence of what reasonable purchasers considered defective at the time." Id. Here, Putman

   stands on firmer ground. As an initial matter, contrary to Savage's assertion that consumer

   expectations must be proven through expert testimony only, the case law clearly indicates

   that direct evidence or circumstantial of what reasonable purchasers considered defective at


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   the time is admissible. Id.; see Alevromagiros v. Hechinger, 993 F.2d 417, 420-421 (4th Cir.

   1993); Tunnell v. Ford Motor Co., 330 F. Supp. 2d 707, 715 (W.D. Va. 2004) (holding that

   in "products liability cases alleging an unreasonably dangerous design defect under Virginia

   law, direct and circumstantial evidence of reasonable consumer expectations of safety

   standards is admissible to show defectiveness").

          Putman argues that "[h]undreds of customers experienced bulged, split, and

   exploding 10ML-II barrels," and "(i]t was obvious that consumers would not expect their

   metal barrels to explode." ECF No. 73, at 14. While obviousness itself is not evidence,

   Putman presented a sampling of customer complaints in which 10ML-II owners "expressed

   their surprise and outrage" about 10ML-II barrel failures. ECF No. 78-7 (Ex. 18). In several

   of these complaints, 1OML-II owners include photographs of bulged or split barrels, as well

   as express concerns for other hunters who might be injured by their 10ML-II muzzleloader

   if the firearm is not recalled or if a warning is not issued. Id. With respect to the use of the

   PowerBelt bullet specifically, Putman cites testing of "nonapproved bullets" (including

   PowerBelt bullets) conducted by Savage as part of its so-called "misuse testing" of

   "variation[s] in the way people load their guns." ECF No. 69-1, at 112 (Ex. A). Putman also

   cites " [n]umerous [internet] forums" in which non-recommended bullets and powders are

   recommended, and correspondence between Savage and outdoor writers who recommended

   or mentioned using PowerBelt bullets with their 10ML-II. ECF No. 69-4, at 33 (Ex. D);

   ECF No. 69-6, at 2 (Ex. F); ECF No. 69-7, at 6 (Ex. G). This direct and/ or circumstantial

   evidence clearly engenders a genuine issue of material fact as to consumer expectations

   regarding the safety and performance of the 10ML-II generally and use of the PowerBelt


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    bullet specifically. I d. at 1-17. Moreover, an email from Coburn in which he refers to the

    barrel failure phenomenon as "split barrel syndrome" is, at a minimum, circumstantial

    evidence that Savage was aware of other injuries and/or potential dangers of 10ML-II use or

    misuse. ECF No. 78-3, at 1 (Ex. 14).              1


                                                                       B.

             Virginia law holds that "[e]ven where a plaintiff can prove that reasonable consumers

    expected a safer design, we hold that a design is not objectively unreasonable unless the

    plaintiff can show that an alternative design is safer overall than the design used by the

    manufacturer." Evans v. Nacco Materials Handling Grp., Inc., 295 Va. 235, 249, 810 S.E.2d

    462, 471 (2018). Savage cites several cases for the proposition that insofar as Dr. Druschitz

    posits an alternative design, there must be evidence that such design "would have prevented

    the accident." ECF No. 62, at 17 (citing, inter alia, Tunnell v. Ford Motor Co., 385 F. Supp.

    2d 582, 584 (W.D. Va. 2005), affd, 245 Fed. Appx. 286 (4th Cir. 2007) ("[I]t is a basic

    concept embedded in any defectiveness analysis, requiring that a proposed alternative design

    actually cure a product of its alleged defects."). Savage then cites the following concession by

    Dr. Druschitz during his deposition as a fatal to Count I:

             Q: My question was a little different. Do you have any evidence you can point to that
             a different barrel steel would have -wouldn't have failed at the time of the incident
             when subjected to the forces that were inside Mr. Putnam's barrel?

             A: No.




    1 At this stage, the court assumes that there is a sufficient evidentiary foundation for these complaints and that they

    concern substantially and / or sufficiently similar barrel failures . Further, a proper foundation must be established for the
    Coburn email to be admissible at trial.

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    ECF No. 64-5, at 115-16 (Ex. E). While the safety standard is phrased somewhat differently

    across cases, in Evans v. Nacco Materials Handling Grp., Inc., the Supreme Court of

    Virginia articulated its safety requirement vis-a-vis reasonable alternative designs in less

    absolute terms than those advanced by Savage, stating "[w]ith respect to the modification of

    a design with safety implications . . . the plaintiff must establish that the proposed design

    modification is safer than the design used by the manufacturer." 252 Va. 60, 65, 471 S.E.2d

    489, 492 (1996). The Evans court states elsewhere "that a design is not objectively

    unreasonable unless the plaintiff can show that an alternative design is safer overall than the

    design used by the manufacturer." Id. In other words, Virginia law requires the Putman

    prove that his proposed alternative design is "safer overall," not that the alternative would

    have "prevented" the injury or "cured" absolutely the alleged design defects.

           Putman is able to carry his burden pursuant to this standard. Putnam first argues that

    the "best alternative design for a smokeless power muzzleloader is no design at all - a stance

    that the muzzleloader industry has taken since smokeless powder was invented." ECF No.

    73, at 14. Here, Putman's ipse dixit regarding the "stance" taken by the industry, setting aside

    those statements contained in Coburn's email described supra, is unsupported by any

    citations to the record. However, Dr. Druschitz posits an alternative design and explains why

    it would render the barrel safer overall. Dr. Druschitz states the following:

                   The material used for the Savage Arms 1OML-II muzzleloader
                   was a poor choice due to its inherent low fracture toughness
                   and anisotropic properties. To overcome the inherent
                   mechanical properties of this steel, the following methods could
                   be used: 1) increase the wall thickness to reduce the applied
                   stress to below the value required to initiate the nucleation of
                   cracks in the gun barrel environment, 2) heat treat the material
                   to a hardness or microstructure that has higher fracture

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                   toughness (a lower strength material would have higher fracture
                   toughness but the wall thickness would probably have to be
                   increased to reduce the applied stress), 3) reduce the stress
                   concentration produced by the rifling by using a larger radius at
                   the notch/ corner, and 4) cold work the internal bore surface to
                   create compressive residual stresses that would effectively lower
                   the stress at the inside bore surface, and thus, reduce the
                   tendency to initiate microcracks. Another alternative is to use a
                   different steel, such as a low alloy, carbon steel like UNS
                   G41400, UNS G41500 or UNS G43400, which have a better
                   combination of strength and fracture toughness and less
                   anisotropic mechanical properties since these steels have low
                   levels of sulfur, and thus, fewer manganese sulfide inclusions.

    ECF No. 78-1, at 44-46 (Ex. 7). This portion of Dr. Druschitz's report provides a "safer"

    alternative design, i.e., use of a tougher steel. Id. In an affidavit clarifying deposition

    testimony, Dr. Druschitz explains that alternative materials at the same strength as the 416R

    steel used in the 10ML-II "would have greater ductility and greater toughness," and that

    "these alternative barrel steels or treatments would have been likely to prevent the rupture

    that occurred and to decrease the likelihood of injury .... " ECF No. 73-13, at 4 (Ex. 22).

           Finally, Virginia law does not always require quantitative evidence as to the risk-utility

    analysis. Ford v. Bartholomew, for example, upheld expert testimony that a gear shift "does

    not conform with what I consider to be safe engineering standards," even when that expert

    had not offered any risk-benefit test results to verify his theory. 224 Va. 421, 297 S.E.2d 675

    (1982). Indeed, other Virginia cases have not required quantitative risk-benefit analysis when

    there is evidence that the proposed alternative design was used in other products. See Lust v.

    Clark, 792 F.2d 436 (4th Cir. 1986) (a proposed alternative pinch point placement and

    guarding device were implemented by other manufacturers); Blevins v. New Holland, 128

    F.Supp.2d 952 (W.D. Va. 2001) (a plaintiffs alternative emergency stop design, while not


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    used on agricultural equipment, was used on industrial equipment); Chestnut v. Ford Motor

    Co., 445 F.2d 967 (4th Cir. 1971) (evidence of an alternative device more reliable than a

    solenoid was found sufficient to impose liability for a malfunctioning headlight closing lid).

    Dr. Druschitz notes, and the record suggests, that not only did "Savage Arms provide test

    data showing that 416R stainless steel could be heat treated to form a different

    microstructure and hardness and this material produced a more durable gun barrel compared

    to the current material," but in fact (2) " ... [did] produceD the 10ML-II muzzleloader in a

    chrome moly steel" (4140 carbon steel) with "greater fracture toughness," all suggesting that

    "alternative materials are feasible." ECF No. 78-1, at 41, 46 (Ex. 7); ECF No. 65-1, at 51. To

    the extent a risk-utility analysis is required, Dr. Druschitz's analysis suffices.

                                                     c.
           Finally, Savage alleges that Putman has failed to offer sufficient proof of causation,

    and that his multiple misuses of the 10ML-II were unforeseeable as a matter oflaw. ECF

    No. 82, at 10-11. Savage claims that the confluence of Putman's misuses, which were warned

    against in the manual, resulted in the separation of the PowerBelt projectile from its plastic

    base and movement of the bullet down the barrel. The misuses alleged by Savage include

    Putman's:

                (1) Failure to ever clean the barrel or the muzzleloader.
                (2) Failure to properly check to be sure the barrel was empty
                    because his ramrod was not marked and he had an after-market
                    accessory attached to it, all prior to loading the rifle on Sunday
                    night.
                (3) Loading of the muzzleloader on Sunday night in the cabin
                    instead of when he was ready to shoot it.
                (4) Use an amount of powder in excess of the maximum
                    recommended amount in the manual.
                (5) Use a bore-sized unsaboted bullet.

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               (6)   Use a bullet that had a plastic sub-base.
               (7)   Utilization of a bullet of a weight not listed in the manual.
               (8)   Use of a PowerBelt bullet with smokeless powder.
               (9)   Transportation of a loaded muzzleloader, angled down, in a
                     scabbard affixed to a mule as he rode· up a rocky and steep
                     mountain.

    Id. at 9. With respect to the question of proof, both parties have proffered extensive

    evidence in support of conflicting theories as to what caused the barrel failure at the heart of

    this case. Savage's "air gap" theory posits that the aforementioned misuses of the 10ML-II

    muzzleloader caused the separation of the "non-recomniended" PowerBelt bullet from its

    sub-base, leading to an "obstruction and an air gap." ECF No. 82, at 8. Savage's expert, Dr.

    Sam Fadala, is prepared to testify that this air gap resulted in an over-pressure event, which

    in turn caused Putman's barrel to fail. Id. at 8. Savage's second expert, Steven Rodgers, is

    expected to testify that subjecting a loaded muzzleloading rifle to five days of vibration and

    shaking while it was in a scabbard likely caused the bullet to separate and/ or migrate off the

    powder charge, creating the aforeme_n tioned obstruction. ECF No. 62, at 10.

            Putman claims that his evidence and expert (1) support an "embrittlement" /"barrel

    fatigue" theory as the only possible cause of the accident and (2) undermines Savage's "air

    gap" theory. Putman has provided ample evidence supporting this embrittlement theory. Dr.

    Druschitz report claims that the gun came apart because of "numerous cracks" running

    along the length of the barrel. ECF 78-1, at 45 (Ex. 7). According to Dr. Druschitz, these

    cracks were mostly along the corner of the barrel's rifling, which is an area where stresses on

    the barrel were concentrated, and grew when the gun was f1red, eventually leading to the

    barrel burst that injured Putman. Id. With respect to the fractures Dr. Druschitz observed

    during his examination of the barrel in question, Savage claims that that Dr. Druschitz does

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    not actually know when such cracks in the barrel were "actually initiated," i.e., whether they

    were caused by the barrel failure or, whether, as Putman alleges, contributed to the barrel

    failure. ECF No. 62, at 19. Dr. Druschitz explained that the cracks, "to a reasonable degree

    of engineering probability, formed before the fracture event." ECF No. 73-13, at 3. The

    basis for this opinion is adequately and specifically explained in his affidavit. Id. Dr.

    Druschitz explains: (1) a single event is unlikely to create the number of cracks were

    observed on the inside of the gun barrel; (2) "steps" on the final fracture surface indicate

    multiple cracks grew over time and joined in the final fracture event; (3) some cracks exhibit

    intergranular fracture adjacent to the gun barrel surface that are typical of pre-existing cracks

    that later caused the final fracture; (4) the bore-adjacent intergranular fracture indicates these

    crack[s] had long-term exposure to low melting point metals; and (5) another 10ML-II

    stainless steel barrel exhibits similar cracking inside the barrel, without having bulged, split,

    or burst. Id. In short, construing the evidence in plaintiffs favor, there is undoubtedly a

    genuine issue of material fact as to the cause of the barrel failure in question.

           Further, Putman claims that whether any of the alleged misuse in fact constitutes

    misuse at all and/ or unforeseeable misuse presents, at a minimum, a genuine issue of

    material fact. The court agrees. Virginia case law distinguishes between foreseeable and

    unforeseeable misuse of a product. On the one hand, foreseeable misuse will not defeat a

    claim for breach of warranty (or a negligence theory of liability). See Jeld-Wen, 256 Va. at

    148, 501 S.E .2d at 396. On the other hand, using a product "in a manner which the seller

    could not have reasonably foreseen" bars a claim for breach of warranty (or negligent

    design). Fournier Furniture, Inc. v. Waltz-Holst Blow Pipe Co., 980 F. Supp. 187, 190 (W.D.


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    Va. 1997); see also Turner v. Manning, Maxwell & Moore, Inc., 216 Va. 245, 252, 217 S.E.2d

    863, 869 (197 5) ("The implied warranty does not apply when the product is being used in a

    manner or for a purpose for which it was not intended."). Typically, whether misuse is

    foreseeable is a question for the jury, Tunnell v. Ford Motor Co., 330 F. Supp. 2d 748, 756-

    57 (W.D. Va. 2004), unless there is no genuine dispute about the issue or "a reasonable jury

    could reach only one conclusion." Norris, 139 F.Supp 3d at 747. With respect to the

    manifold "misuses" alleged by Savage, including the use of the "non-recommended"

    PowerBelt bullet, the court cannot rule as a matter of law that such conduct constitutes an

    (1) intervening or superseding cause of the accident or (2) unforeseeable misuse. Indeed, the

    relevance of the alleged, unforeseeable misuses turns on a finding that such misuse caused

    and/ or contributed to the barrel failure in question. In other words, the underlying genuine

    issue of material fact related to causation would need to be resolved before finding that the

    alleged misuses, assuming unforeseeably, preclude a finding of proximate causation. What is

    more, in his motion for partial summary judgment, Putman adequately demonstrates there is

    a genuine issue of material fact as to whether the use of a PowerBelt bullet was

    unforeseeable.

           While the court cannot find the alleged misuses superseding and/ or unforeseeable,

    neither can it hold as a matter of law, as Putman wishes, that the use of the PowerBelt bullet,

    etc. was foreseeable. Putman's argument in its motion for partial summary judgment distills

    down to a single sentence: " . .. Putman had loaded it [his 10ML-II] with a smokeless

    gunpowder that Savage recommended, measured in a way that Savage recommended, and

    with a PowerBelt brand of bullet that, while not recommended in the Manual . .. Savage


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    knew would be used in its 10ML-II rifles." ECF No. 69, at 4. In support of his claim that

    Savage "knew" the PowerBelt would be used or was being used, Putman claims: (1) Savage

    tested PowerBelt bullets as part of its practice of testing, or so-called "misuse testing," (2)

    corresponded with outdoor writers who recommended or mentioned using PowerBelt

    bullets, and (3) became aware that its customers used "other non-recommended bullets from

    letters, product reviews, and internet forums it monitored." ECF No. 69 at 4-5. Lastly,

    Putman claims the 10ML-II manual specifically "contemplates," and even "condones,"

    consumer experimentation with load combinations other than those prescribed in the

    manual. Id.

           Savage responds by leaning heavily on the explicit language in the manual stating,

    "Use smokeless powder loads with saboted .45 caliber bullets only." Savage claims that this

    warning, in no uncertain terms, proscribes the use smokeless power with a bore-sized (or

    near bore-sized) PowerBelt bullet. Savage also argues that Putman's reliance on language in

    the manual suggesting customers "try loading one or two grains more or less of these

    powders with saboted bullets of similar weights and diameters" to buttress his theory that

    the manual endorsed deviations from the explicit language above is specious. First, Savage

    correctly points out that Putman cites no basis for the claim that this language would be

    understood by consumers to "condone" the use of a PowerBelt bullet, which is a bore-sized,

    .499 diameter bullet. Indeed, Putman simply states, as a matter of fact, that "Putman's bullet

    was 'of similar weightO" and "of similar ... diameterO ." ECF No. 69, at 10. It is possible, of

    course, that a muzzleloader owner would recognize that a .45 caliber projectile and a .499

    caliber projectile are entirely dissimilar in size. Further, Putman cites no authority for the


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    proposition that Internet articles and/ or forum posts suggesting off-manual usage renders a

    consumer's disregard of explicit language in the manual foreseeable as a matter of law. The

    court's finding that neither party is entitled to judgment as matter of law as to proximate

    causation and the foreseeability of alleged misuses, including the use of the PowerBelt bullet,

    is amply supported in the case law. See, e.g., Tunnell v. Ford Motor Co., 330 F. Supp. 2d

    748, 756 (W.D. Va. 2004) ("The issue of the speed of the vehicle is relevant to the issue of

    unforeseeable misuse and causation which are properly questions for the jury."); Freeman v.

    Case Corp., 924 F. Supp. 1456, 1472 (W.D. Va. 1996) ("[T]he issue of foreseeable misuse

    was properly left for the jury."); see also Wilhelm v. Ameristep Corp., No. 7:15-CV-00362,

    2018 WL 6272911, at *19-20 (W.D. Va. Nov. 30, 2018).

                                  III. Willful & Wanton Failure to Warn

           Under Virginia law, a product manufacturer is liable for negligent failure to warn

    when it "(a) knows or has reason to know that the [product] is or is likely to be dangerous

    for the use for which it is supplied, and (b) has no reason to believe that those for whose use

    the [product] is supplied will realize its dangerous condition, and (c) fails to exercise

    reasonable care to inform them of its dangerous condition or of the facts which make it

    likely to be dangerous." Featherall v. Firestone Tire and Rubber Co., 219 Va. 949, 962, 252

    S.E.2d 358 (1979) (quoting Restatement (Second) ofTorts § 388 (1965)). This duty to warn

    "stems from the view that the manufacturer should have superior knowledge of his product

    and it extends not only to the immediate purchaser but to other persons who might in the

    ordinary and natural course of events be subjected to danger." Id.




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           In Virginia, punitive damages are available only when the defendant has acted with

    actual malice or with wanton and willful disregard for his actions. Wallen v. Allen, 231 Va.

    289, 297, 343 S.E.2d 73 (1986). ''Willful or wanton conduct imports knowledge and

    consciousness that injury will result from the act done." Id. Simple and even gross

    negligence is not enough. See Ford Motor Co. v. Bartholomew, 224 Va. 421, 436-37, 297

    S.E.2d 675 (1982) (striking punitive damages arising out of an automobile manufacturer's

    negligent design of a parking gear and negligent failure to correct or warn of the defect).

    Conduct th.at evinces some concern for the safety of others, such as attempts to neutralize

    dangers once they are known, will weigh against an award of punitive damages. See Philip

    Morris, Inc. v. Emerson, 235 Va. 380,409, 368 S.E.2d 268 (1988). In Count III, Putman

    alleges, albeit ambiguously, both (1) point-of-sale and (2) post-sale duty to warn claims, as

    well as a willful and wanton disregard of said duties permitting an award of punitive

    damages. The court finds no support in the record for the notion that there was a willful and

    wanton failure to warn at the point-of-sale. Indeed, at most, Putman has alleged that certain

    instructions and/ or warnings in the manual were ambiguous, "inadequate," or being

    disregarded by 10ML-II. ECF No. 73, at 10. The extensive manual does not evince a

    conscious disregard for consumer safety. In its opposition to Putman's motion for partial

    summary judgment, Savage recapitulates salient warnings in the manual regarding the use of

    recommended projectiles and powders. ECF No. 70, at 3. In light of subsequent consumer

    misuse of the 10ML-II, the instructions appear to be, at most, negligently defective. That

    said, there is a genuine issue of material fact as to whether there was a wanton post-sale

    failure to warn.


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           Savage argues that the Supreme Court ofVirginia has never formally adopted the

    duty to make post-sale warnings regarding product dangers that come to light after the initial

    sale, and therefore Putman's post-sale claim is not cognizable in Virginia. See Royal Indem.

    Co. v. Tyco Fire Prods., LP, 281 Va. 157, 169 n. 3, 704 S.E.2d 91 (Va. 2011) (declining to

    address appellant's argument that trial court improperly dismissed post-sale duty to warn

    claims); Harris v. T.I., Inc., 243 Va. 63, 72,413 S.E.2d 605 (Va. 1992) (assuming without

    deciding that post-sale duty to warn exists). However, numerous federal courts interpreting

    Virginia law have assumed, that under the circumstances of their particular cases, the

    Virginia Supreme Court would have adopted the doctrine, and have therefore applied it. See,

    ~,Island   Creek Coal Co. v. Lake Shore, Inc., 832 F.2d 274,280 (4th Cir.1987); Kingv.

    Flinn & Dreffein Engineering Co., No. 7:09-cv-00410, 2012 WL 4459568, *6-8 (W.D. Va.

    May 16, 2012); Rash v. Stryker Corp., 589 F.Supp.2d 733 (W.D. Va. 2008); McAlpin v. Leeds

    & Northrup Co., 912 F.Supp. 207 (W.D. Va. 1996). But see Estate of Kimmel v. Clark

    Equip. Co., 773 F.Supp. 828 (W.D. Va. 1991) (declining to apply a post-sale duty to warn

    under Virginia law).

           Consistent with those opinions, the court assumes that that that Virginia would

    recognize a post-sale duty to warn. Nevertheless, the court must still determine whether such

    a duty would apply in this case. It is undisputed that the question of whether a post-sale duty

    to warn exists is a question of law. Kellermann v. McDonough, 278 Va. 478,487,684 S.E.2d

    786 (2009) ("The issue of whether a legal duty in tort exists is a pure question of law ... .");

    Russell ex rel. Russell v. Wright, 916 F. Supp. 2d 629, 650 (W.D. Va. Jan. 4, 2013). The

    factors to evaluate when considering whether such a duty exists are: (1) whether the seller


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   knows or reasonably should know that the product poses a substantial risk of harm to

   persons or property; (2) those to whom a warning might be provided can be identified and

   can reasonably be assumed to be unaware of the risk of harm; (3) a warning can be

   effectively communicated to and acted on by those to whom a warning might be provided;

   and (4) the risk of harm is sufficiently great to justify the burden of providing a warning. Id.

   at 650-51. Savage avers that even if a post-sale duty to warn is recognized, there are no facts

   in the record upon which such a claim could be submitted to the jury. Here, Savage's

   argument is two-fold. First, Savage argues that the manual contains specific warnings about

   proper loading and the types of projectiles, powder, and sabots to utilize, and these warnings

   are sufficient under the circumstances, according to its warnings expert. ECF No. 62, at 15.

   Second, Savage claims that Putman's post-sale duty to warn claim is in fact a request for

   Savage to recall the 10ML-II muzzleloader, and no such duty to recall is recognized under

   Virginia law. ECF No. 62, at 15.

          With respect to the latter assertion, Putman's claim is clearly disjunctive, stating

   "[i]nstead of properly warning its customers and the general public of the dangers or

   recalling the rifles ... ." ECF No. 34. Regarding the former claim, Putman first asserts, and

   the court agrees, that there is a genuine issue of material fact as to the adequacy of Savage's

   warnings for reasons discussed infra. ECF No. 73, at 12. Second, Putman notes that Savage's

   warning expert, Dr. Stephen Young, opines only about the warnings in the materials that

   come with the new product, and is silent regarding the post-sale failure to warn once Savage

   learned either that those instructions were inadequate, or were being regularly ignored.




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            With respect to each of the four considerations above, the court comfortably

   concludes that there was a duty to provide a post-sale warning in this case. As to the flrst

   and second factors, Putman has set forth evidence, described supra, that Savage knew or

   reasonably should have known that hundreds of its barrels failed with smokeless powder,

   and that customers were potentially unaware of the risks due to deflciencies in the 10ML-II

   manual, and were making "mistakes" as a result of these deflciencies ECF No. 73, at 10.

   Additionally, Putman cites two such warnings 2 where the manufacturers of smokeless

   powders recommended by Savage expressly warn against their use in any muzzleloader, i.e.,

   warn users not to follow Savage's recommendations. ECF No. 73-2 (Ex. 2(a)); ECF No. 73-

   3 (Ex. 3). Putman's theory, in essence, is that because Savage's recommendations require

   users to ignore other product warnings, Savage should have foreseen that these same users

   might ignore Savage's own product warnings and recommendations. In other words,

   Putman argues that it was foreseeable that an owner of a 10ML-II muzzleloader, inured to

    disregarding other muzzleloading product warnings, would discount Savage's

   recommendations regarding its own product without appreciating the risks of doing so.

            With respect to the third factor, Putman claims that Savage withheld information

    about barrel bulges, splits, or bursts from consumers, waiting until November 2, 2017 to

    flnally issue a "Safety Notice." ECF No. 73-11, at 2 (Ex. 16). Notwithstanding its dilatory

   response, Putman claims that Savage's decision to fmally issue a safety reminder indicates

    that it was able to "effectively communicateD" a warning had it chosen to do so earlier.


    2(1) The IMR smokeless powders that Savage recommended warn, "Never substitute this powder for black powder or
    any black powder substitute or use in muzzleloading firearms." ECF No. 73-2 (Ex. 2(a)) . (2) The Alliant smokeless
    powder that Savage currently recommends warns, "Not for use in muzzleloader or black powder firearms." ECF No.
    73-3 (Ex. 3).

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   Indeed, Putman states, "U]ust as Savage was able to disseminate its November 2017 'Safety

   Notice,' Savage could have disseminated an appropriate warning when it knew about the

   dangers over a decade earlier." ECF No. 73, at 12. Putman does not explicitly address the

   fourth factor, i.e., whether the risk of harm is sufficient great to justify the burden of

   providing a warning, but construing the evidence in Putman's favor, it was clearly the case

   that the risk of harm was sufficient to justify the de minimis burden of issuing a warning

   similar to that contained in the November 2017 "Safety Notice." In short, the court fmds

   that all four factors weigh in favor of finding a duty to make post-sale warnings.

          Having determined the existence of a legal duty to warn of the dangers of barrel

   failure, the court must now evaluate whether Savage's warnings on this matter were

   adequate. See Russell v. Wright, 916 F. Supp. 2d 629, 653 (W.D. Va. 2013). Under Virginia

   law, the adequacy of a product's warnings is typically a question for the jury. Spruill v. Boyle-

   Midway, Inc., 308 F.2d 79, 86 (4th Cir.1962); Abbot v. American Cyanamid Co., 844 F.2d

   1108, 1115 (4th Cir.1988). However, when reasonable minds could not disagree on the

   adequacy of a product's warning, the court may determine the issue as a matter of law. Id. In

   evaluating whether a warning is adequate under the circumstances, the relevant factors are

   "(1) whether it could be expected to catch the attention of a reasonable person; (2) whether

   it could be understood by a reasonable person; and (3) whether it gave a reasonable

   indication of the nature and extent of the potential danger." Franklin v. Home Depot U.S.A.,

   Inc., 2007 WL 1725348, at *3 (W.D. Va. June 13, 2007) (quoting Pfizer Inc. v. Jones, 221 Va.

   681, 272 S.E.2d 43 (1980)).




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          Savage contends that it specifically warned about and against misuses causing barrel

   failures in its manual and/ or the possibility of injury from misuse through the following

   warrungs:

               (1) IMPORTANT: DO NOT ATTEMPT TO LOAD AND
                   SHOOT YOUR RIFLE UNTIL YOU HAVE
                   THOROUGHLY READ THIS INSTRUCTION MANUAL
                   AND ARE FULLY FAMILIAR WITH ITS CONTENTS.
                   ECF No. 62-2, at 1.

               (2) "Use correct ammunition" as "[u]sing improper or incorrect
                   ammunition can destroy a gun and cause serious personal
                   injury." Id. at 3.

               (3) ALWAYS seat the projectile f.lt!Illy over the powder charge.
                   Any projectile that sits off of the powder charge will usually
                   produce poor accuracy and could result in pressures high
                   enough to burst the barrel and cause injury. Id. at 4.

               (4) [I]mproper seating of bullets . . . could result in damage to the
                   rifle and serious injury or death to a shooter or by-stander." Id.
                   at 5.

               (5) Be sure the barrel is clear of obstructions before shooting" and
                   that obstructions "can cause dangerously increased pressure,
                   causing the barrel to bulge or even burst when firing, which can
                   cause injury to the shooter and bystanders. Id.

   In addition to the above cautionary language, Savage again leans heavily on the following

   warning: "Use smokeless powder loads with saboted .45 caliber bullets only." Id. at 9. Taken

   together, Savage argues that there is no basis for a post-sale failure to warn claim because the

   warnings above sufficed to warn users of the potential consequences of misuse. ECF No. 82,

   at 4. Notwithstanding these warnings, Putman argues that Savage knew that users were

   continuously making the sort of "mistakes" that Savage claims caused the barrel defects, and

   that Savage was aware of approximately 300 claims of barrel damage from customers using


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   the 10ML-II rifle. ECF No. 73, at 10-11. 3 In light of the conflicting evidence and arguments

   concerning the adequacy of the above warnings, and Virginia's strong preference for having

   juries decide the question of a warning's adequacy, the court cannot conclude as a matter of

   law Savage's warnings were sufficient to foreclose a post-sale failure to warn claim.

           Finally, Savage asks the court to rule that punitive damages are not available under

   the facts of this case as a matter of law. Savage argues that Putman has not established any

   basis for punitive damages, as the evidence reveals that Savage (1) designed, developed, and

   tested its muzzleloader design, (2) verified that the 416R steel met the specified metallurgical

   standards, (3) certified every barrel it manufactures as having been metallurgically tested and

   conforming to the material specification, (4) performed internal proof testing and function-

   testing on every muzzleloader it produced, (5) provided extensive instructions and warnings

   with its product, (6) continuously tested and verified its product to assess the integrity of its

   rifles under extreme conditions, and (7) sent fractured barrels to independent laboratories to

   have those barrels metallurgically tested. ECF No. 62, at 22. These actions, Savage claims,

   establish that it "showed significant care for the safety of its customers," precluding any

   claim for punitive damages. Id. Putman claims, however, that Savage willfully and wantonly

   "failed to change the design or warn consumers based on information only Savage had,"

   including "direct knowledge of the danger from over three-hundred reports of barrel

   defects." ECF Nol. 73, at 19. Putman correctly notes that Savage's extensive testing is not

   probative as to the level of concern for safety once it knew its muzzleloaders were failing




   3As noted on the issue of consumer expectations, this analysis presumes that Putman can lay a proper foundation for
   the admission of the evidence concerning prior barrel failures.

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    despite all of the aforementioned testing. The conflicting evidence produced from each side

   prevents the court from rendering a decision on the punitive damages claim at this point in

    the litigation. Viewing the evidence in the light most favorable to Putman, there remains a

   genuine issue of material fact about what Savage knew and when regarding barrel failure.

    Given such a conflict, and given the fact that certain of Savage's actions could be construed

    as in wanton disregard of the potential risks involved in the use of the 10ML-II

    muzzleloader, the motion for summary judgment on the punitive damages clam is denied.

                                IV. Implied Warranty of Merchantability

           Under Virginia law, the "standard of safety of goods imposed on the seller or

    manufacturer of a product is essentially the same whether the theory of liability is labelled

   warranty or negligence or strict tort liability: the product must not be unreasonably

    dangerous at the time that it leaves the defendant's possession if employed in the manner in

   which it was intended to be used or put to a special use known beforehand by the

    defendant." Chestnut v. Ford Motor Co., 445 F.2d 967, 968 (4th Cir. 1971) (applying

    Virginia law) (emphasis added). Hence, for all the reasons stated supra supporting the court's

    denying summary judgment as to Count I, Savage's motion for summary judgment as to

    Count IV alleging a breach of implied warranty of merchantability is similarly DENIED.

           In sum, Savage's motion for summary judgment is DENIED as to Counts I, III, and

    Count IV. Putman's motion for partial summary judgment is likewise DENIED .

           It is SO ORDERED.




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